     Case 3:24-cv-01077-RSH-MMP         Document 59   Filed 10/02/24   PageID.624   Page 1
                                              of 2



 1    AYNUR BAGHIRZADE
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 2    Laguna Beach, CA 92651
      Phone: 619-630-6646
 3    Email: contact@aynurlawyers.com
 4    AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                         UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                 Case No.: 3:24-CV-01077-RSH-MMP
10    AYNUR BAGHIRZADE,
                                                 MOTION FOR LEAVE OF COURT
11                                Plaintiff,     TO FILE SECOND AMENDED
                                                 COMPLAINT
12            v.
      ARMENIAN NATIONAL                          /Filed concurrently with Declaration of
13
      COMMITTEE OF AMERICA, et al.,              Aynur Baghirzade, 1. Copy of the
14                                               proposed SAC and 2. Copy of SAC with
                                                 all changes/
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                                                 Presiding Judge: Hon. Robert Huie
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                                                 Magistrate Judge : Hon. Michelle M.
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      Motion for Leave of Court                           Case No.: 3:24-CV-01077-RSH-MMP
     Case 3:24-cv-01077-RSH-MMP       Document 59        Filed 10/02/24   PageID.625   Page 2
                                            of 2



 1          Pursuant to Local Rule Rule 15.1. and 15(2) of F.R.C.P. , Plaintiff Aynur
 2    Baghirzade (“Plaintiff”) requests for the amendment of First Amended Complaint
 3    (FAC) for the reasons as set forth below:
 4          WHEREAS, Plaintiff filed her complaint on June 21, 2024;
 5          WHEREAS, Plaintiff filed her First Amended Complaint (FAC) on August
 6    15, 2024;
 7          WHEREAS, Plaintiff after research discovered new facts not known to her
 8    before filing her FAC, justifying addition of new facts and new causes of actions to
 9    the Complaint;

10          WHEREAS, after filing initial and FAC new facts and circumstances justify

11    addition of new Defendants to the Complaint as Doe Defendants.

12
            Plaintiff respectfully asks for the leave of this Court to file Second Amended
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      Complaint and enclose with this Motion a copy of the proposed SAC and a copy
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      showing what changes have been made.
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20    Dated: October 2, 2024                           Plaintiff, Aynur Baghirzade
21                                                     By: /s/ Aynur Baghirzade
22                                                     Aynur Baghirzade
23                                                     Email: contact@aynurlawyers.com
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      Motion for Leave of Court                              Case No.: 3:24-CV-01077-RSH-MMP
